                      Case 2:13-cr-00062-JCM-PAL Document 198 Filed 05/31/24 Page 1 of 2



                 1
                 2
                 3
                 4                                UNITED STATES DISTRICT COURT
                 5                                       DISTRICT OF NEVADA
                 6                                                   ***
                 7     UNITED STATES OF AMERICA,                             Case No. 2:13-CR-62 JCM (PAL)
                 8                                           Plaintiff(s),                     ORDER
                 9            v.
               10      KEVIN SALISBURY,
               11                                         Defendant(s).
               12
               13            Presently before the court is defendant Kevin Salisbury (“defendant”)’s motion to request

               14     documents (ECF No. 187), motion to remove docket entry (ECF No. 188), motion for early
               15
                      termination of supervised release (ECF No. 189), and motion seeking discovery (ECF No. 194).
               16
                      Specifically, defendant requests the transcripts of the preliminary hearing, asks for information
               17
                      regarding a joint discovery agreement, and seeks removal of his own motion for early termination
               18
               19     of supervised release from the docket. No responses or oppositions have been filed, and the time

               20     to do so has passed.
               21
                             These pro se motions are incomprehensible, contain numerous contradictions, and cite no
               22
                      case law. Most pertinent to this order, all motions violate Local Rule 47-1.
               23
                             Local Rule 47-1 provides that “[a]ll motions—unless made during a hearing or trial—must
               24
               25     be in writing and served on all other parties who have appeared. The motion must be supported by

               26     a memorandum of points and authorities.” LCR 47-1. Local Rule IC 5-1 provides that a signature
               27
                      is required on all filings, and that “[t]he signatory must be the attorney or pro se party who
               28

James C. Mahan
U.S. District Judge
                      Case 2:13-cr-00062-JCM-PAL Document 198 Filed 05/31/24 Page 2 of 2



                1     electronically files the document.” LR IC 5-1. Local Rule IC 7-1 provides that “[t]he court may
                2     strike documents that do not comply with these rules.”
                3
                              Defendant’s attorney has not withdrawn from the case. Defendant’s motions bear neither
                4
                      his own signature nor that of his attorney. Defendant’s motions do not contain points and
                5
                6     authorities. If defendant wishes to move the court for further action in this case, he must do so

                7     through his attorney or proceed properly as a pro se party.
                8            Accordingly,
                9
                             IT IS HEREBY ORDERED, ADJUDGED, and DECREED that defendant’s motion to
              10
                      request documents (ECF No. 187), motion to remove docket entry (ECF No. 188), motion for early
              11
              12      termination of supervised release (ECF No. 189), and motion seeking discovery (ECF No. 194) be

              13      STRICKEN.
              14
                             DATED May 31, 2024.
              15
              16                                                   __________________________________________
                                                                   UNITED STATES DISTRICT JUDGE
              17
              18
              19
              20
              21
              22
              23
              24
              25
              26
              27
              28

James C. Mahan
U.S. District Judge                                                  -2-
